219 F.2d 708
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.INTERNATIONAL UNION OF MINE, MILL AND SMELTER WORKERS,INDEPENDENT, et al.
    No. 15231.
    United States Court of Appeals, Eighth Circuit.
    Jan. 10, 1955.
    
      Petition for Enforcement of Order of National Labor Relations Board.
      Marcel Mallet-Prevost, Asst. Gen. Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on petition for enforcement and stipulation filed with Board.
    
    